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																			2019 Opinion and Summaries

									
				
			

										
		
	

				
				
			

					
			2019 OpinionsWeb Editor2019-07-01T07:29:24-04:00						
				
					
						DISCLAIMER:
These opinions are subject to the parties’ motion for reconsideration, the Court’s reconsideration, and editorial changes made by the Reporter of Decisions.&nbsp; An opinion designated as “Final Copy” is the Supreme Court’s official opinion as published in the advance sheets.&nbsp; Please Note: Adobe Acrobat Reader is necessary to read the following opinions. You may download Adobe Acrobat Reader here if necessary. Thank you.
July
July 1, 2019

S19Y0608. IN THE MATTER OF EDWARD NEAL DAVIS
S19Y0709. IN THE MATTER OF CLARENCE A. SYDNOR, IV
S19Y0977. IN THE MATTER OF CHERYL JOYCE BRAZIEL
S19Y1168. IN THE MATTER OF HAKEEM BERTRAND BROCK

June
June 28, 2019 – SUMMARIES for NOTEWORTHY OPINIONS

S18G0976. BUDHANI v. THE STATE
S18G1136. BOURASSA v. STATE OF GEORGIA
S19A0209, S19X0210. THE STATE v. MONDOR (and vice versa)
S19A0331. ELKINS v. THE STATE


June
June 24, 2019 –&nbsp;SUMMARIES for NOTEWORTHY OPINIONS

S18G1022. MERCER UNIVERSITY v. STOFER et al.
S19A0018. BOYD v. THE STATE
S19A0042. VASQUEZ v. THE STATE
S19A0047. BRANT v. THE STATE
S19A0069. HENRY v. SPIVEY
S19A0116. FLEMING v. THE STATE
S19A0146. WILKES &amp; McHUGH P.A. et al. v. LTC CONSULTING, L.P. et al.
S19A0166. VENTURINO v. THE STATE
S19A0231. JACKSON v. THE STATE &nbsp;6-25-2019 Substitute opinion issued.
S19A0373. TAYLOR v. THE STATE
S19A0418 . BANNISTER v. THE STATE
S19A0460. CITY OF COLLEGE PARK v. CLAYTON COUNTY et al.

June
June 10, 2019 –&nbsp;SUMMARIES for NOTEWORTHY OPINIONS

S18G1007. MCKIE v. THE STATE
S18G1354. THE STATE v. BURNS
S19A0118, S19A0119. BROXTON v. THE STATE (two cases)
S19A0164, S19A0416. DAVIS v. THE STATE (two cases)
S19A0360. SWANSON v. THE STATE
S19A0367. CLARK v. THE STATE
S19A0605. COOPER v. THE STATE
S19A0674. TOOKES v. THE STATE
S19A0790, S19A0907. STROZIER v. THE STATE (two cases)
S19M0969. DUKE v. STATE
S19Y0792. IN THE MATTER OF LESLEY ANNIS
S19Y0823. IN THE MATTER OF ALEXANDER E. KAHN

&nbsp;
June
June 3, 2019 –&nbsp;SUMMARIES for NOTEWORTHY OPINIONS

S18G0699. ADAMS v. THE STATE
S18G0876, S18G1107. MILLIKEN &amp; COMPANY. v. GEORGIA POWER COMPANY (two cases)
S18G0947. NORDAHL v. THE STATE
S19A0095. DOZIER v. THE STATE
S19A0172. RIGSBY v. THE STATE
S19A0177. WALKER v. THE STATE
S19A0185. THE STATE v. WILLIAMS
S19A0224. GOINS v. THE STATE
S19A0289. ROWLAND v. THE STATE
S19A0343. JACKSON v. THE STATE
S19A0366. BLACKMON v. THE STATE
S19A0378. DEVELOPMENT AUTHORITY OF COBB COUNTY et al. v. STATE OF GEORGIA et al.
S19A0428. BOWMAN v. THE STATE
S19A0565. GOLSON v. THE STATE
S19Q0249. THOMASTON ACQUISITION, LLC v. PIEDMONT CONSTRUCTION GROUP, INC. et al.
S19Y0706. IN THE MATTER OF JONNIE MAE GRAHAM
S19Y0959. IN THE MATTER OF PRESTON B. KUNDA

&nbsp;
May –&nbsp;SUMMARIES for NOTEWORTHY OPINIONS
May 20, 2019

S17Y1532. IN THE MATTER OF JOHN DENNIS DUNCAN &nbsp;Reinstatement issued.

&nbsp;
May 20, 2019

S18G0944, S18G0945. CITY OF GUYTON et al. v. BARROW (two cases)
S18G1316, S18G1317. GEORGIA DEPARTMENT OF LABOR v. MCCONNELL et al. (and vice versa)
S18G1338. IN THE INTEREST OF M.F., a child
S19A0066. SPELL v. THE STATE
S19A0149. COCHRAN v. THE STATE
S19A0173. GOODEN v. THE STATE
S19A0279. STROTHER v. THE STATE
S19A0297. BAILEY v. THE STATE
S19A0308. DAVIS v. THE STATE
S19A0324. COLLETT v. THE STATE
S19A0348. WILLIAMS v. THE STATE
S19A0384. BRADLEY v. THE STATE
S19A0409. CARTER v. THE STATE
S19A0419. DAVIS v. THE STATE
S19A0440. CARTER v. THE STATE
S19A0443. MOSS v. THE STATE
S19A0634. GRIER v. THE STATE
S19Y1076. IN THE MATTER OF RICHARD SCOTT THOMPSON

&nbsp;
May&nbsp;–&nbsp;SUMMARIES for NOTEWORTHY OPINIONS
May 6, 2019

S18G0994.&nbsp; THE STATE v. ORR&nbsp; 5-13-2019 Substitute opinion issued.
S19A0068.&nbsp; JONES v. THE STATE
S19A0101.&nbsp; JONES v. THE STATE
S19A0157.&nbsp; THE STATE v. TURNQUEST
S19A0276.&nbsp; WILLIAMSON v. THE STATE
S19A0346.&nbsp; WILLIAMS v. THE STATE
S19A0351, S19A0352.&nbsp; HANEY V STATE (two cases)

&nbsp;
April&nbsp;–&nbsp;SUMMARIES for NOTEWORTHY OPINIONS
April 29, 2019

S19A0012. KOONCE v. THE STATE
S19A0019. OLIVER v. THE STATE
S19A0031. HART v. THE STATE
S19A0100. LUCKIE v. BERRY
S19A0129. WOFFORD v. THE STATE
S19A0138. MOORE v. THE STATE
S19A0158. OUTLER v. THE STATE
S19A0174. BELL v. THE STATE
S19A0243. PARKS v. THE STATE
S19A0361. LAY v. THE STATE
S19A0374. THE STATE v. NEWMAN
S19Y0645. IN THE MATTER OF LAKEISHA TENNILLE GANTT
S19Y0980. IN THE MATTER OF DON SMART


April
April 15, 2019&nbsp;–&nbsp;SUMMARIES for NOTEWORTHY OPINIONS

S19A0027. DOZIER et al. v. WATSON
S19A0038. CLARK v. THE STATE
S19A0041. BURGESS v. HALL
S19A0065. BELLAMY v. RUMER
S19A0250. DAVIS v. THE STATE
S19A0323. CASTILLO-VELASQUEZ v. THE STATE
S19A0392. JONES v. THE STATE
S19A0439. CARPENTER v. THE STATE
S19A0457. COLEY v. THE STATE
S19Y0671. IN THE MATTER OF MELODY YVONNE CHERRY


March
March 13, 2019&nbsp;–&nbsp;SUMMARIES for NOTEWORTHY OPINIONS

S18G0524. HOUSING AUTHORITY OF THE CITY OF AUGUSTA v. GOULD
S18A1073. DEBELBOT v. THE STATE
S18Q1233. FEDERAL DEPOSIT INSURANCE CORPORATION v. LOUDERMILK et al.

March
March 11, 2019&nbsp;–&nbsp;SUMMARIES for NOTEWORTHY OPINIONS

S18G0364. TYNER v. MATTA-TRONSCOSO et al.
S18G0517. FIRST ACCEPTANCE INSURANCE COMPANY OF GEORGIA, INC. v. HUGHES
S18G0563. LICATA v. THE STATE
S18A1052. YARN v. THE STATE
S18A1074, S18A1075. ESPRIT v. THE STATE (two cases)
S18A1090. THE STATE v. ROSENBAUM et al.
S18A1137. THE STATE v. TEDDER
S18A1158. THE STATE v. SPRATLIN&nbsp;3-27-2019 Substitute opinion issued.
S18A1282. BROOKS v. THE STATE
S18A1295. WARE v. THE STATE
S18A1321. DENNARD v. THE STATE
S18A1467. WEST v. THE STATE
S18A1562. JOHNSON v. THE STATE
S19A0180. COAST v. THE STATE
S19A0430. BLAINE v. THE STATE
S19Y0337-S19Y0340. IN THE MATTER OF NEIL LARSON (four cases)
S18Z1232. IN THE MATTER OF LAJUAN MIGUEL CERTION

&nbsp;
March
March 4, 2019&nbsp;–&nbsp;SUMMARIES for NOTEWORTHY OPINIONS

S18G0756. CHAPPUIS et al. v. ORTHO SPORT &amp; SPINE PHYSICIANS SAVANNAH, LLC
S18G1033. HANHAM et al. v. ACCESS MANAGEMENT GROUP, LP
S18A1045. MCCORD v. THE STATE
S18A1071. TYNER v. THE STATE
S18A1121. CONLEY v. PATE
S18A1156. FULTON COUNTY v. CITY OF ATLANTA et al.
S18A1211. PARK v. THE STATE
S18A1273. OVERTON v. THE STATE
S18A1322. CHAMBERS v. HALL, WARDEN
S18A1396. CARTWRIGHT v. CALDWELL
S18A1394. FAVORS v. THE STATE
S18A1491. PRICE v. THE STATE
S18A1593. BECK v. THE STATE
S18A1598. JACKSON v. THE STATE&nbsp;3-27-2019 Substitute opinion issued.
S18A1609. STANFORD v. THE STATE
S18A1610. CROUCH v. THE STATE
S19A0296. TUGGLE v. THE STATE
S19Y0552. IN THE MATTER OF ALVIS MELVIN MOORE


February
February 18, 2019&nbsp;–&nbsp;SUMMARIES for NOTEWORTHY OPINIONS

S17G2011. BELLSOUTH TELECOMMUNICATIONS, LLC et al. v. COBB COUNTY et al.
S18G0695, S18G0696. BISHOP v. GOINS et al. (two cases)
S18A1030. IVEY v. THE STATE
S18A1048. RILEY v. THE STATE
S18A1060. GRANT v. THE STATE
S18A1204. ELLIOTT v. THE STATE
S18A1231. WYNO v. LOWNDES COUNTY
S18A1234. WINTERS v. THE STATE
S18A1252. BEASLEY v. THE STATE
S18A1275. THE STATE v. JOHNSON
S18A1299. BENTON v. THE STATE
S18A1428. GOODSON v. THE STATE
S18A1429. MOORE v. THE STATE
S18A1440. ROBERTS v. THE STATE
S18A1445. BATTLE v. THE STATE
S18A1519. MILLER v. THE STATE
S18A1538, S18A1539. VIRGER v. THE STATE (two cases)
S18A1622, S18X1623. MORGAN COUNTY v. MAY (and vice versa)


February
February 4, 2019&nbsp;–&nbsp;SUMMARIES for NOTEWORTHY OPINIONS

S18G0078. LA FONTAINE v. SIGNATURE RESEARCH, INC.
S18G0365. WHITE v. THE STATE
S18G0493, S18G0499. STATE OF GEORGIA v. INTERNATIONAL INDEMNITY COMPANY et al. (two cases)
S18A1031. McKELVIN v. THE STATE
S18A1145. McDANIEL v. THE STATE
S18A1154. BIRDOW v. THE STATE
S18A1209. FLANNIGAN v. THE STATE
S18A1221. WAINWRIGHT v. THE STATE
S18A1302. CURRY v. THE STATE
S18A1425. GROGAN v. CITY OF DAWSONVILLE
S18A1464. HOLLMAN v. THE STATE
S18A1468. YOUNG v. THE STATE
S18A1512. THE ANTHEM COMPANIES, INC. et al. v. CHERYL WILLS et al.
S18A1559. THE STATE v. HANNA
S19Y0498. IN THE MATTER OF JACK S. JENNINGS

January
January 22, 2019&nbsp;–&nbsp;SUMMARIES for NOTEWORTHY OPINIONS

S18G0146. PLUMMER v. PLUMMER
S18A1040. MONDRAGON v. THE STATE
S18A1195. SOLOMON v. THE STATE
S18A1208. MIMS v. THE STATE
S18A1212. WORTHEN v. THE STATE
S18A1215. RINGOLD v. THE STATE
S18A1236. CHAVERS v. THE STATE
S18A1307. DE LA HERNANDEZ v. THE STATE
S18A1328. RICHARDSON v. THE STATE
S18A1340. THOMPSON v. THE STATE
S18A1357. MCDONALD v. THE STATE
S18A1391. KENNEDY, WARDEN v. HINES
S18A1434. JORDAN v. THE STATE
S18A1589. PARKER v. THE STATE
S18A1629. BARNES v. THE STATE
S19A0039. STROZIER v. THE STATE
S19A0153. BISHOP v. HALL, WARDEN
S19Y0266. IN THE MATTER OF HEATHER E. JORDAN
S19Y0455. IN THE MATTER OF NATHAN E. HARDWICK, IV
S19Y0466. IN THE MATTER OF SHANNON DEWAYNE PATTERSON


January
January 7, 2019

S19Y0028. IN THE MATTER OF SAMUEL WILLIAMS, JR
S19Y0122. IN THE MATTER OF MELODY YVONNE CHERRY



					
				
							
																													
		
					
				  
			  
			
			
			
										
				
						
	
		
			
				
																									
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